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                      UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION

MARILYN ENGLISH,

                                Petitioner,


v.                                                       CIVIL ACTION NO.           2:22-cv-00540


ELLEN HEINE, et al.,

                                Defendants.


                    PROPOSED FINDINGS & RECOMMENDATION


        This matter is assigned to the Honorable Thomas E. Johnston, Chief United States

District Judge, and it is referred to the undersigned United States Magistrate Judge for

submission of proposed findings and recommendations for disposition pursuant to 28

U.S.C. § 636(b)(1)(B). (ECF No. 2.) Pending is a Motion to Remand filed by counsel for

Petitioner Marilyn English (“Petitioner”)—through Petitioner’s guardian, the West

Virginia Department of Health and Human Resources (“WVDHHR”), in response to the

Notice of Removal filed by Respondent Ellen Heine (“Heine”) on behalf of herself as well

as on behalf of Respondent Gregory Knorr (“Knorr”), and Respondent Kevin Keane

(“Keane”) 1 (collectively, the “Respondents”); the Respondents are proceeding pro se, both

presently and at all relevant times herein. (ECF Nos. 1; 4.) For the reasons set forth below,

the undersigned respectfully RECOMMENDS that Petitioner’s motion be GRANTED.



1While the Notice of Removal refers to Respondent Kevin “Keane,” the Respondent’s surname is spelled
“Keene” in several exhibits on the record. (Compare ECF No. 1, with ECF No. 5-2. See also ECF No. 8 at 3.)
For clarity, the undersigned refers to the Respondent’s surname uniformly herein as “Keane.”
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    I.      BACKGROUND

         At the time of the events giving rise to this action, Petitioner—a person over the

age of 65—resided at her home in Verona, New Jersey, where she had been politically

active for many years. (ECF No. 1-3.) 2 Petitioner also owned a summer house in Maine.

(ECF No. 4 at 2.) Respondents—Keane, of Maine, and Heine and Knorr, of New Jersey—

dispute the nature of their relationship, but admittedly “befriended” Petitioner over a

period of time. (See ECF Nos. 1-3 at 1; 4 at 2; 5-2 at 17.) In September 2022, Petitioner

called another friend to ask for help because she was “not being treated well.” (ECF No.

5-1 at 4.) After wellness checks to Petitioner’s home went unanswered, local police officers

in New Jersey (the “NJP”) were assigned to investigate Petitioner as a missing person. Id.

Learning of Petitioners’ association with the Respondents, the NJP discovered that

Respondent Heine had “prior arrests/pleas to financial exploitation, [and] elder abuse,”

and that Heine owned “homes in West Virginia.” (ECF Nos. 4 at 6; 5-1 at 4.) Further

investigation determined that Heine and one or more of the other Respondents had

transported Petitioner to Kanawha County, West Virginia. Id.

         Suspecting kidnapping, the NJP alerted the Charleston Police Department

(“CPD”), reporting that Respondent Heine had refused all demands to return Petitioner

home, and, further, that the three Respondents had liquidated Petitioner’s bank assets,

sold household goods, and taken possession of Petitioner’s vehicle. (ECF No. 5-1 at 4.)

Acting on the NJP’s alert, the CPD located Petitioner in the company of Respondent Heine

and one or more of the other Respondents. Id. Finding that Petitioner was disoriented

and in need of medical attention, the CPD officers then transported Petitioner to the



2 See also Virginia Citrano, English Runs for County Executive, MyVeronaNJ (Oct. 8, 2010),
https://myveronanj.com/2010/10/08/english-runs-for-county-executive/.

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Charleston Area Medical Center (“CAMC”) in Charleston, West Virginia, for evaluation.

Id. CAMC staff found indicators for dementia, and reported that Petitioner believed she

was still in New Jersey—with no memory of agreeing to come to West Virginia. Id.

        During Petitioner’s hospitalization, Respondents acted “belligerent and aggressive

with CAMC staff,” demanding that staff members discharge Petitioner into Respondents’

custody. Id. CAMC staff reported that, when these demands were refused, Respondents

began an unrelenting campaign of harassment and threatening behavior toward “hospital

staff and others” in person and over the telephone, combined with “multiple attempts . . .

to remove [Petitioner] from the hospital” forcibly, which “caused [Petitioner] great fear

of physical harm, harassment, and abduction.” (ECF No. 4 at 3.) Fearing that

Respondents would “once again kidnap [Petitioner],” CAMC involved the West Virginia

Department of Health and Human Resources (“WVDHHR”)—a State agency—which in

turn initiated an emergency petition for guardianship in the Circuit Court of Kanawha

County, West Virginia (“Kanawha Circuit Court”), Case Number 2022-G-70 (the

“Guardianship action”). The Circuit Court appointed Attorney Jennifer N. Taylor to

represent Petitioner, and on September 23, 2022, declared Petitioner a “Protected

Person” pursuant to West Virginia Code § 44A-1-1 et seq. Id. 3

        On September 20, 2022, Petitioner—by her counsel, Attorney Taylor, through

Petitioner’s Guardian, the WVDHHR—initiated three separate summary proceedings in

the Magistrate Court of Kanawha County, West Virginia (the “Kanawha Magistrate



3 On October 25, 2022, Respondent Heine moved “to be considered for the position of co-guardian” for
Petitioner in the Guardianship action, and was denied; apart from Respondent Heine’s own alleged role in
precipitating the action, as a non-relative she was not entitled to participate pursuant to W. Va. Code § 44A-
1-1, et seq. (ECF No. 5 at 5.) In any event, the Guardianship action is not before this Court and is relevant
only to the fact of Petitioner’s protected status under West Virginia law. (See ECF Nos. 1; 5 at 5.)


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Court”), seeking a Temporary Personal Safety Order (“TPSO”) against Respondents

Knorr, Keane, and Heine, respectively. (ECF Nos. 5-1; 5-3.) 4 The Kanawha Magistrate

Court assigned individual Case Numbers to each Petition (collectively, the “Magistrate

Court matters”).5 (ECF Nos. 5-1; 5-3.) Attorney Taylor alleged in the Petitions that a TPSO

against the Respondents was necessary “in order to shield [Petitioner] Marilyn English

from elder abuse, exploitation, and aggression on the part of the [Respondents] Heine,

Knorr, and Keane, and to keep them away from [Petitioner] and CAMC staff.” (ECF No. 4

at 3.) The three Magistrate Court matters did not involve monetary relief in any form, nor

any type of relief with respect to any real or personal property. Rather, the Petitioner

sought only to restrain Respondents from contacting her, entering her residence, or

further harassing her. (See ECF No. 5-3.)

          That same day, Kanawha County Magistrate Rusty Casto issued a TPSO, ex parte,

in each of the three Magistrate Court matters. (See ECF No. 5-3 at pp. 1-6 (Heine), 13-18

(Keane), 25-30 (Knorr).) The TPSOs merely prohibited Respondents, pursuant to W. Va.



4 West Virginia statute permits the guardian of an incapacitated adult to petition for a TPSO, which
prohibits a respondent from threatening or harassing the petitioner under certain circumstances. See W.
Va. Code §§ 53-8-1 through 53-8-5. A TPSO is effective for ten days; additionally, after providing the
Respondent with notice and an opportunity to be heard, a final personal safety order (“FPSO”) may be
entered, with an effective period of up to two years. Id. § 53-8-7.

5   The Magistrate Court matters are summarized in the following table:

          Date Filed       Case Number                   Petitioner                Respondent

         09/20/2022        22-M20S-00477     Marilyn English, By Next Friend and   Gregory Knorr
                                                 Attorney Jennifer N. Taylor

         09/20/2022        22- M20S-00478    Marilyn English, By Next Friend and   Kevin Keane
                                                 Attorney Jennifer N. Taylor

         09/20/2022        22- M20S-00479    Marilyn English, By Next Friend and    Ellen Heine
                                                 Attorney Jennifer N. Taylor


(See ECF Nos. 5-1; 5-3.)

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Code § 53-8-5(a), from (1) committing harassment or making threats of bodily injury; (2)

contacting, attempting to contact, or harassing the Petitioner; (3) entering Petitioner’s

home; or (4) entering CAMC, as Petitioner’s temporary residence. See id. Under West

Virginia law, each TPSO would be effective for only ten (10) days, after which the time

period could be extended only by the Magistrate or upon a showing of good cause. W. Va.

Code § 53-8-5(c). Each TPSO also contained a Notice with the date, time, and location of

a final hearing to determine if long-term, final personal safety orders (“FPSO”) were

warranted under W. Va. Code § 53-8-7(a)(2). See id. (See, e.g., ECF No. 5-3 at 26.) The

same day the TPSOs were issued, the Kanawha Magistrate Court served Respondents via

certified mail at their last known addresses. (ECF Nos. 5 at 4; 5-1.)

        The final hearing date was subsequently extended several times at the request of

Petitioner’s counsel. (ECF Nos. 5 at 4; 5-4 at 1-6, 11.) On November 15, 2022, before the

date of the final hearing, Respondent Heine filed a “Response” to the Petition for “[T]PSO

filed by the Petitioner Marilynn English of 97 Pease Avenue, Verona, N.J” in Case Number

22-M20S-00479—the Magistrate Court matter in which Heine was named. (ECF No. 1-

2.) Heine’s Response challenged the Petition’s factual allegations, instead characterizing

Heine’s relationship with Petitioner as “voluntary,” “at will,” and motivated by altruism. 6

However, the Response immediately undercut this sympathetic portrayal with a list of

threats so thinly veiled and artlessly written that they manifest a clear purpose to

intimidate Petitioner from persisting further against Heine. For instance, Heine stated in

the Response that “[i]f the Petitioner were to be charged” for perjuring herself in the



6 In support, Heine attached exhibits to the Response demonstrating her past involvement in
environmental lawsuits and political activism with Petitioner, as well as an image purportedly depicting
Heine’s use of Petitioner’s vehicle to transport Petitioner’s personal property between Petitioner’s Maine
and New Jersey houses—purportedly at Petitioner’s behest. (ECF Nos. 1-2; 1-3. See also ECF No. 5-2 at 17.)

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Petition for TPSO, “as an incompetent [Petitioner] would subject herself to the maximum

term and it would be served in a mental hospital such as Sharpe Hospital in Weston, WV.”

Id. at 2. Heine next warned that in the event Petitioner were to violate a TPSO that Heine

were to obtain in the future, Petitioner “would serve the maximum term in a mental

facility.” Id. Heine then doubled down with the chilling statement that “[a]t [Petitioner’s]

age [of] 74 there is a question if the Petitioner will live long enough” to regain her

competency after serving these amorphous, “maximum” terms in “mental” institutions.

Id. Respondent Heine concluded her Response with a request “that the court schedule a

hearing to dissolve the [T]PSO or in the alternate to award the same restrictions to the

[Respondent] in the form of a [T]PSO . . . restraining [Petitioner] from any interactions

with the Respondent[.]” Id. at 2-3.

       Respondent Heine also filed a motion seeking the transfer of all three Magistrate

Court matters from Kanawha Magistrate Court to Kanawha Circuit Court, on the grounds

that “additional discovery is needed to accurately address the allegations” in each Petition

for TPSO, which Respondent Heine characterized as a “complaint.” (ECF No. 5-4 at 14.)

Attorney Taylor responded that Petitioner did not object to the transfers; instead, “[f]or

purposes of judicial economy,” she moved to consolidate the three Magistrate Court

matters “into one case before a Circuit Court Judge.” Id. at 16. Attorney Taylor explained

that “[t]he petitions for protective orders were all filed as a result of combined actions of

the Respondents” and involved many of the same witnesses and exhibits; consequently,

“the consolidation of the three cases is logical and practical.” Id.

       On November 28, 2022—before the final hearing, and apparently before a ruling

was made on the motion to transfer or the motion to consolidate—Respondent Heine filed

a single-page Notice of Removal “to remove the case filed in the Circuit Court of Kanawha

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County, 22M20S00477 to 479,” to this Court. (ECF No. 1 (emphasis added).) In support

of removal, Respondent Heine asserted the following:

        1.       This case was filed by the Plaintiff, and pending in the Circuit Court
                 of Kanawha County, WV. Plaintiff’s attorney represents that Plaintiff
                 is a resident of WV.

        2.       This removal is pursuant to 28 U.S.C. § 1332. Defendants agree to the
                 removal. Heine resides [in New Jersey], . . . Knorr resides [in New
                 Jersey], . . . and Keane resides [in Maine].

        3.       This Court has jurisdiction because the amount in controversy
                 exceeds $245,000.00. Plaintiff makes claims of loss/theft of bank
                 accounts, personal property, and theft of real estate which exceeds
                 the threshold filing requirements.

        4.       Notice of removal is timely. Keane has not yet been personally served
                 with the [Petition, which Respondent Heine characterized as a]
                 complaint. Heine did not receive personal service, and only received
                 a mailed copy.

        5.       The defendants consent to the removal of this case to the US District
                 Court.

Id. The Notice of Removal employed a misleading description of the Magistrate Court

matters. Referencing Case Numbers “22M20S00477 to 479,” the Notice clearly purported

to remove all three matters, while minimizing their distinction by referring to them

collectively as “[t]his case” and “the case.” Id. Based upon the record before the Court, 7

Petitioner’s motion to consolidate remained pending at the time of removal; however, the



7 In setting forth the procedure for removal of civil actions, Congress expressly required that “defendants
desiring to remove any civil action from a State court shall file in the district court of the United States . . .
a copy of all process, pleadings, and orders served upon such defendant or defendants in such action.” 28
U.S.C. § 1446(a). Upon the Court’s review of the record, however, it appears that Respondents have
complied with this requirement only in part—further obfuscating a full picture of the proceedings before
the Kanawha County courts. For instance, Respondent Heine attached to the Notice of Removal copies of
Petitioner’s Petition for TPSO against Respondent Heine, as well as Heine’s Response, which were both
filed in the Magistrate Court matter in which Heine was named, Case Number 22-M20S-00479; however,
Heine did not submit to this Court copies of any documents from the remaining Magistrate Court matters
that named Respondents Knorr (22-M20S-00477) and (Keane 22-M20S-00478), respectively. (ECF Nos.
1-1; 1-2; 1-3.)


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Notice omitted that fact, and failed to disclose that “the case” was actually comprised of

three distinct civil actions. See id. Likewise, the Notice represented that the Magistrate

Court matters were “pending in the Circuit Court of Kanawha County.” Id. Based upon

the record before the Court, however, the motion to transfer remained pending in the

Kanawha Magistrate Court at the time of removal. Finally, Respondent Heine—who is not

an attorney licensed to appear before this Court—signed and filed the Notice of Removal

on behalf of herself as well as on behalf of Respondents Knorr and Keane. See id.

       Subsequently on December 16, 2022, Attorney Taylor filed the subject motion

seeking remand to the Kanawha Magistrate Court, arguing that this Court lacks subject

matter jurisdiction, removal was untimely, and Respondent Heine—a non-lawyer

proceeding pro se—was representing the Respondents without a license by submitting

filings on their behalf in the two Magistrate Court matters in which she was not a named

party. (See ECF Nos. 4; 5.) Respondents Heine and Knorr failed to file a formal response

to Petitioner’s subject motion to remand. However, on January 17, 2023, Respondent

Keane submitted a handwritten cover letter to this Court’s Office of the Clerk and attached

a typewritten document titled “Notice of Removal of Civil Action,” which his cover letter

characterized as a “motion of removal” (the “Keane Notice”). (ECF No. 8.) The Keane

Notice bears indicia that it may have been elicited—if not wholly prepared—by

Respondent Heine on Keane’s behalf to cure the issues Petitioner raised in the motion to

remand. See id. First, Keane’s handwritten cover letter employs passive, slightly garbled

language—such as his statement that “[t]his matter has been timely filed on my pro se,

self to remove the case[.]” Id. at 3. In contrast, the attached Keane Notice employs more

articulate language and is typewritten in precisely the same format as Respondent

Heine’s own Notice of Removal. (Compare ECF No. 1, with ECF No. 8.) Further, the style

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and substantive content of the former Notice precisely echo the latter. See id. Moreover,

just as Respondent Heine’s Notice purported to remove all three matters but contained

only Heine’s signature, the Keane Notice likewise described “the case” collectively as

“22M20S00477 to 479,” yet contained only Keane’s signature. (ECF No. 8 at 2.)

        In fact, the Keane Notice differs from Respondent’s Heine’s original Notice of

Removal in only one material respect: it draws from a separate action filed by Petitioner

against Keane involving money damages (the “Financial Exploitation case”). 8 See id.

Vaguely alluding to the Financial Exploitation case, but sidestepping its distinction as a

separate action, the Keane Notice asserts the following:

        This Court has jurisdiction because the amount in controversy exceeds
        $245,000.00. Plaintiff knows that the threshold amount of $75,000 is
        exceeded because she reviewed the market analysis for her home in
        Millbridge Maine and instructed me to list the home . . . . She now alleges
        that I owe her all of that money and she has a court order directing me to
        pay her the demanded amount, including court costs and lawyer fees.
        Plaintiff makes claims that I sold her possessions and owe her the full
        replacement value of her belongings.

Id. at 1 ¶ 4. Thus, by invoking the Financial Exploitation case, the Keane Notice attempts

to bolster the amount-in-controversy element of subject-matter jurisdiction under 28

U.S.C. § 1332. “Keane” admits as much therein, stating as follows:

        Judicial notice should be taken that [Kanawha County Circuit Court] Judge
        Webster noted in her order that the financial issues and the protected
        person order were “inextricably” intertwined. What she was saying was that
        the financial abuse allegations were the reason why a protective order and
        guardianship would be granted. Therefore without the financial abuse
        allegations the Plaintiff would not be able to make claims for the need for

8 Along with the Guardianship action and the Magistrate Court matters mentioned above, Petitioner’s
counsel initiated a fourth separate action by filing a “Petition for Financial Exploitation Protective Order”
against Respondent Keane in Kanawha Magistrate Court, Case Number 22-AF-10 (the “Financial
Exploitation case”). (ECF No. 5-2.) Respondent Keane appealed the Financial Exploitation case to the
Intermediate Court of Appeals of West Virginia, Case Number 22-ICA-189. Id. at 11-19. However,
Respondents Knorr and Heine were not parties to that action, and Respondents did not include it with the
three Magistrate Court matters that were collectively removed to this Court—either via Respondent Heine’s
Notice of Removal, or via the Keane Notice in the instant action. (ECF Nos. 1; 8; see also ECF No. 5-2.)

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         the [T]PSO. Bank accounts, personal items from two homes and the sale of
         two homes more than exceeds the $75,000 threshold.

(ECF No. 8 at 2 ¶ 4.) Additionally, the Keane Notice addresses the issue of timeliness

raised in Petitioner’s motion to remand. See id. ¶ 5. Consequently, while Respondents did

not file a formal response to Petitioner’s motion to remand, the Keane Notice functions

much like a response by addressing—albeit indirectly—the issues raised in Petitioner’s

motion.

         The parties’ deadline to submit responsive briefs having expired pursuant to Rule

7.1(a)(7) of the Court’s Local Rules of Civil Procedure, Petitioner’s subject motion to

remand is now ripe for adjudication.

   II.      STANDARD OF REVIEW

         A civil action may be removed from State court only if “the district courts of the

United States have original jurisdiction” over the subject matter of the case. 28 U.S.C. §

1441(a). See also Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987) (“Only state-court

actions that originally could have been filed in federal court may be removed to federal

court by the defendant.”). Original jurisdiction is narrow in scope, as “[f]ederal courts are

not courts of general jurisdiction; they have only the power that is authorized by Article

III of the Constitution and the statutes enacted by Congress pursuant thereto.” Bender v.

Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986); In re Bulldog Trucking, Inc., 147

F.3d 347, 352 (4th Cir. 1998). Generally, “[o]riginal subject matter jurisdiction in the

United States District Courts exists in one of two circumstances: (1) when a “federal

question” is presented, or (2) when there is complete “diversity of citizenship” between

the parties, and the “amount in controversy” exceeds $75,000. Tri-State Prop. Rentals,

LLC v. Cabell Cty. Mag. Ct., No. 3:23-CV-00072, 2023 WL 2960804, at *6–7 (S.D.W. Va.


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Mar. 20, 2023), adopted, 2023 WL 2957482 (S.D.W. Va. Apr. 14, 2023) (citing 28 U.S.C.

§§ 1331, 1332). “There is no presumption that a federal district court has subject matter

jurisdiction[.]” Pinkley, Inc. v. City of Frederick, 191 F.3d 394, 399 (4th Cir. 1999).

       Moreover, the Court “must strictly construe removal jurisdiction,” because it raises

“significant federalism concerns.” Mulcahey v. Columbia Organic Chems. Co., Inc., 29

F.3d 148, 151 (4th Cir. 1994). When a civil action arrives in federal court via removal under

28 U.S.C. § 1441, therefore, “the removing defendant has the burden of establishing

subject matter jurisdiction[.]” Castle Credit Co. Holding, LLC v. Riley, 3:17-cv-2591, 2018

WL 259092, at *1 (D.S.C. Jan. 2, 2018) (citing Mulcahey, 29 F.3d at 151). If, at any time

before final judgment, “it appears that the district court lacks subject matter jurisdiction,

the case shall be remanded.” 28 U.S.C. § 1447(c).

   III.   DISCUSSION

          a. Original Jurisdiction

       Remand of the three Magistrate Court matters to the Kanawha Magistrate Court is

proper, because this Court lacks original jurisdiction under 28 U.S.C. §§ 1331-1332.

                  i. Federal Question Jurisdiction

       The Magistrate Court matters do not invoke federal-question jurisdiction pursuant

to 28 U.S.C. § 1331. First, a petition for a personal safety order pursuant to West Virginia

statute does not “arise under” federal law—as a number of federal district courts have

observed in the same circumstances with respect to similar state laws. See, e.g., Banks v.

Banks, 18-cv-07334, 2019 WL 2180225, at *5 (N.D. Cal. Mar. 11, 2019), adopted, 2019

WL 2180217 (N.D. Cal. Apr. 2, 2012) (“Applications for domestic-violence restraining

orders do not arise under federal law and, without more, the court lacks federal-question

jurisdiction.”); Rice v. Rice, 10-cv-2002, 2010 WL 2090088 (D. Minn. May 21, 2010)

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(finding that petition for order of protection did not “arise under” federal law pursuant to

28 U.S.C. § 1331 and remanding to state court for lack of subject matter jurisdiction).

Moreover, Respondents have not relied on § 1331 to support their position that this Court

has subject-matter jurisdiction over the instant action. In both Respondent Heine’s

November 19, 2022 “Notice of Removal of Civil Action,” as well as the January 12, 2022

Keane Notice, Respondents expressly assert that their “removal is pursuant to 28 U.S.C.

§ 1332.” (ECF Nos. 1 at 1 ¶ 2; 8 at 1 ¶ 3.) Accordingly, the undersigned FINDS that this

Court lacks subject-matter jurisdiction over the instant action based upon any federal

question pursuant to 28 U.S.C. § 1331.

                 ii. Diversity of Citizenship

       Respondents failed to demonstrate that this Court has subject-matter jurisdiction

over the instant action based on diversity of citizenship pursuant to 28 U.S.C. § 1332. To

meet the jurisdictional standard under § 1332, Respondents must demonstrate both that

“[1] the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and [2] is between . . . citizens of different States” (hereinafter the “amount in

controversy” component and the “diversity” component). 28 U.S.C. § 1332(a)(1). Here,

Respondents satisfied neither component.

                         1. Domicile of the Parties

       Respondents have not met their burden to demonstrate that their states of

citizenship are “diverse,” or different, from Petitioner’s state of citizenship. Id. When an

action is removed on the basis of diversity, the removing party need only include a “short

and plain statement” setting forth the grounds for removal. 28 U.S.C. § 1446(a); Dart

Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 83, 89 (2014). However, “[t]he

burden of persuasion for establishing diversity jurisdiction . . . remains on the party

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asserting it,” and “[w]hen challenged on allegations of jurisdictional facts, the parties

must support their allegations by competent proof.” Hertz Corp. v. Friend, 559 U.S. 77,

96-97 (2010). With exceptions not applicable here, diversity jurisdiction under § 1332

“requires complete diversity among parties, meaning that the citizenship of every plaintiff

must be different from the citizenship of every defendant.” Cunningham v. Cunningham,

No. CV ELH-16-1747, 2016 WL 8671845, at *2 (D. Md. June 24, 2016) (citing Cent. W.

Va. Energy Co. v. Mountain State Carbon, LLC, 636 F.3d 101, 103 (4th Cir. 2011)).

Consequently, in a case with one plaintiff and more than one defendant, if the state of

citizenship of a single defendant is the same as the plaintiff’s state of citizenship, this fact

“deprives the district court of original diversity jurisdiction over the entire action.” Exxon

Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 553, (2005) (citations omitted). Tri-

State Prop. Rentals, LLC v. Cabell Cty. Mag. Ct., 3:23-CV-00072, 2023 WL 2960804, at

*7 (S.D.W. Va. Mar. 20, 2023), adopted, 2023 WL 2957482 (S.D.W. Va. Apr. 14, 2023).

       Here, it is undisputed that, for purposes of a § 1332 determination, Respondents

Heine and Knorr are citizens of New Jersey, and Respondent Keane is a citizen of Maine.

(ECF Nos. 1 at 1 ¶ 2; 5 at 1, 3; 8 at 1 ¶¶ 1-3.) However, Petitioner has challenged

Respondents’ allegations of jurisdictional facts as to Petitioner’s state of citizenship. (See,

e.g., ECF No. 5 at 1, 3.) Based on the record before the Court, the undersigned FINDS

that Respondents wholly failed to demonstrate that Petitioner is a citizen of West Virginia

and thus diverse in citizenship from Respondents.

       First, Respondents carry the burden to demonstrate Petitioner’s state of

citizenship; however, they merely allege in Respondent Heine’s Notice of Removal and in

the Keane Notice that Petitioner “is a resident of W[est] V[irginia].” (See ECF Nos. 1 at 1

¶ 2; 8 at 1 ¶ 1). A party’s residence is not always synonymous with his or her citizenship.

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See Shaw v. Quincy Mining Co., 145 U.S. 444, 447 (1892). Thus, merely alleging a party’s

state of citizenship is insufficient to establish the diversity component within § 1332 in

this context. See Foster v. Zhang, 2:22-cv-344, ECF No. 9 at 2 (S.D. W. Va. Oct. 20, 2022)

(citing Robertson v. Cease, 97 U.S. 646, 648 (1878) (“Citizenship and residence, as often

declared by this court, are not synonymous terms.”)). See also Scott v. Cricket Commc’ns,

LLC, 865 F.3d 189, 195 (4th Cir. 2017) (“For purposes of diversity jurisdiction, residence

is not sufficient to establish citizenship”); Axel Johnson, Inc. v. Carroll Carolina Oil Co.,

Inc., 145 F.3d 660, 663 (4th Cir. 1998) (“[S]tate citizenship for purposes of diversity

jurisdiction depends not on residence, but on national citizenship and domicile . . . and

the existence of such citizenship cannot be inferred from allegations of mere residence,

standing alone”).

        Instead, “a natural person is a citizen of the state in which he or she is

domiciled[.]” 9 Sandel v. Quality Stone Veneer, Inc., 15-CV-01956-PAB, 2015 WL

5302477, at *2 (D. Colo. Sept. 10, 2015) (quoting Smith v. Cummings, 445 F.3d 1254, 1259

(10th Cir. 2006)). Accord Bloom v. Library Corp., 112 F. Supp. 3d 498, 502-03 (N.D. W.

Va. 2015). The location of a person’s domicile turns on the individual's intent: a mere

resident intends to reside in the place “for the time being,” while a domiciliary “has an

intention to remain in the state indefinitely.” Scott, 865 F.3d at 195 (citing Miss. Band of

Choctaw Indians v. Holyfield, 490 U.S. 30, 48 (1989)). See also Blankenship v. Fox News

Network, LLC, 510 F. Supp. 3d 356, 365 (S.D. W. Va. 2020) (explaining that a person's



9 WVDHHR was appointed as Petitioner’s guardian in the Guardianship action, and subsequently initiated
the Magistrate Court matters; consequently, WVDHHR, not Petitioner, is the named party in this case.
Congress addressed this technicality specifically in § 1332, providing that “the legal representative of an
infant or incompetent shall be deemed to be a citizen only of the same State as the infant or incompetent.”
28 U.S.C. § 1332(c)(2). Thus, the Court must determine the state in which Petitioner was domiciled at the
time of removal, regardless of her legal status as a protected person.

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domicile “is the state in which that person lives with intent to make it a fixed and

permanent home”) (quotation omitted). “While a person may have multiple residences,

or multiple places where they may be physically present, a person has only one domicile.”

Cobb v. W. Va. United Health Sys., Inc., 2:21-cv-597, 2022 WL 1207818, at *3 (S.D. W.

Va. Apr. 22, 2022) (quoting C.I.R. v. Swent, 155 F.2d 513, 515 n.3 (4th Cir. 1946)). This

domicile is the individual’s “true, fixed, principal, and permanent home, to which [she]

intends to return and remain even though currently residing elsewhere.” Cobb, 2022 WL

1207818, at *2-3 (quoting United States v. Venturella, 391 F.3d 120, 125 (2d Cir. 2004)).

Thus, temporary residence in another state, when “coupled with an intent to return

home,” does not change a person’s domicile. Cobb v. W. Va. United Health Sys., Inc.,

2:21-cv-597, 2022 WL 1207818, at *4 (S.D. W. Va. Apr. 22, 2022).

       When assessing where a person is domiciled, the Fourth Circuit set forth the

following “non-exhaustive list of factors” to consider: voter registration; current

residence; the location of real and personal property; location of bank and brokerage

accounts; membership in clubs, churches, or other associations; place of employment or

business; driver's license and automobile registration; and the state to which a person

pays taxes (hereinafter, collectively the “Cobb factors”). Cobb, 2022 WL 1207818, at *3

(citing 13E Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 3612

(3d ed. 2009)). “No single factor is dispositive.” Id.

       Here, as it is undisputed that Respondents are from Maine and New Jersey,

Respondents appear to argue that the parties are diverse in citizenship because, at the

time of removal, Petitioner resided in West Virginia, and a West Virginia State agency—

the WVDHHR—was appointed to serve as Petitioner’s appointed guardian. The record,

however, does not support Respondent’s position. First, Petitioner’s counsel alleges that,

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in response to learning of the NJP’s investigation, Respondents kidnapped Petitioner

from her home in New Jersey and transported Petitioner to West Virginia against her will.

Petitioner’s evaluation at CAMC indicated that Petitioner had no memory of agreeing to

travel to West Virginia; in fact, CAMC staff allegedly reported that Petitioner was not even

aware she had set foot in the State of West Virginia at all, and believed she was still at her

home in Verona, New Jersey—the place where she had been politically active for many

years. Further, the record indicates that NJP officers investigated Petitioner’s

disappearance and were leading efforts to secure Petitioner’s return to New Jersey, and

that Petitioner’s continued presence in West Virginia was attributable to her

hospitalization at CAMC.

       While    Respondents     dispute    Petitioner’s   allegations,   Respondents’    own

representations in court documents support a finding that New Jersey, not West Virginia,

was Petitioner’s domicile at the time of removal. For instance, in her Response to the

Petition for TPSO filed by Respondent Heine filed in the Magistrate Court matters, Heine

argued that “[t]here is a question of what jurisdiction the State of W[est] V[irginia] can

exert over [Petitioner] Marilynn English.” (ECF No. 5-4 at 19.) Heine represented that

she, Respondent Knorr, and Petitioner “are domiciliaries of New Jersey.” Id. Additional

representations by Respondents Heine and Keane indicate that, at the time of the events

giving rise to the instant action, Petitioner emptied her bank account in Maine, listed her

house in Maine for sale, arranged for the transportation of her personal property from

Maine to her home in New Jersey, and returned to her New Jersey home. Finally, Heine

represented that, to her knowledge, Petitioner “has no bank accounts or assets” in West

Virginia, and that Petitioner’s “only financial transaction” in West Virginia was to

purchase “dinner at Captain D’s” while being transported by Heine. Id.

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       In short, the record is wholly devoid of any indication that, at the time of removal,

Petitioner intended to make West Virginia a fixed and permanent home. Petitioner’s

presence in West Virginia via alleged kidnapping and her subsequent hospital stay at

CAMC were plainly insufficient to change her State of domicile from New Jersey to West

Virginia. Id. at *4. To the contrary, the Fourth Circuit’s Cobb factors strongly indicate that

New Jersey was Petitioner’s “true, fixed, principal, and permanent home, to which [she]

intend[ed] to return and remain even though currently residing elsewhere.” Cobb, 2022

WL 1207818, at *2-3. In Respondents’ own words, “[t]he Plaintiff is from NJ. Two of the

defendants are from NJ.” (ECF No. 10 at 5.) As it is undisputed that two of the

Respondents are also domiciled in New Jersey, the undersigned FINDS that the parties

are not diverse in citizenship. See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S.

546, 553, (2005) (explaining that a district court is “deprive[d] . . . of original diversity

jurisdiction over the entire action” when one or more defendants are domiciled in the

same State as the plaintiff). Accord Tri-State Prop. Rentals, LLC v. Cabell Cty. Mag. Ct.,

3:23-CV-00072, 2023 WL 2960804, at *7 (S.D.W. Va. Mar. 20, 2023), adopted, 2023 WL

2957482 (S.D.W. Va. Apr. 14, 2023). Consequently, this Court lacks subject-matter

jurisdiction over this action pursuant to 28 U.S.C. § 1332, and remand is proper.

                         2. Amount in Controversy

       Respondents have not met their burden to demonstrate that “the matter in

controversy exceeds the sum or value of $75,000.” 28 U.S.C. § 1332(a)(1). As the Fourth

Circuit has explained, “[t]he key inquiry in determining whether the amount-in-

controversy requirement is met is not what the plaintiff will actually recover,” but rather

“an estimate of the amount that will be put at issue in the course of the litigation” before

the Court. Scott, 865 F.3d at 196. As the Sixth Circuit Court of Appeals has explained, the

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value of the object of the litigation “is not necessarily the money judgment sought or

recovered, but rather the value of the consequences which may result from the litigation.”

Toutges v. McKaig, 3:19-CV-352, 2019 WL 5865642, at *3 (E.D. Tenn. Nov. 8, 2019)

(quoting Freeland v. Liberty Mut. Fire Ins. Co., 632 F.3d 250, 253 (6th Cir. 2011)).

       Respondents argued in the Keane Notice that the amount in controversy in the

Financial Exploitation case—currently pending on appeal before the West Virginia

Intermediate Court of Appeals—is “intertwined” with the Magistrate Court matters, and

should factor into the amount-in-controversy determination in the Magistrate Court

matters sub judice. (ECF No. 8 at ¶ 4.) Valuing the assets at issue in the Financial

Exploitation case—“bank accounts, personal items from two homes and the sale of two

homes”—in excess of $245,000.00, Respondents argued that, “without the financial

abuse allegations[,] the [Petitioner] would not be able to make claims for the need for the

[T]PSO,” because “the financial abuse allegations were the reason why a protective order

and guardianship would be granted.” Id.

       Petitioner’s counsel, Attorney Taylor, conceded that the TPSO petitions in the

Magistrate Court matters did “mention” the assets that formed the subject of the Financial

Exploitation case; however, the Magistrate Court matters “did not seek recovery of any of

those assets.” (ECF No. 5 at 9.) In fact, the three Magistrate Court matters did not involve

monetary relief in any form, nor any type of relief with respect to any real or personal

property. As Attorney Taylor explained:

       A request for a personal safety order is not the proper forum for obtaining
       monetary relief, or even a basis for ordering a defendant to return personal
       property. A personal safety order is just that – a request for safety. The
       Petitions filed in th[e] [Magistrate Court] matter[s] merely sought to keep
       Marilyn English physically safe from the Defendants, and to prevent them
       from contacting her or removing her from the hospital.


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(ECF No. 5 at 9; see also ECF No. 4 at 3.) Thus, while the mere fact that Petitioner did not

seek a money judgment is not dispositive, Respondents failed to demonstrate that the

consequences resulting from the Magistrate Court matters here—the three TPSOs that

restrained Respondents from contacting, entering the residence of, or further harassing,

the Petitioner—have a value exceeding $75,000. See Toutges, 2019 WL 5865642, at *3.

       Following extensive research, the undersigned is unaware of any authority—and

Respondents have not pointed to any—wherein a federal district court found the amount

in controversy was satisfied in this context. To the contrary, most federal courts

addressing the issue in similar circumstances reached the opposite conclusion. See

Mihaylo v. Knochel, 19-cv-08137, 2019 WL 11274831, at *2 (D. Ariz. May 20, 2019);

Banks, 2019 WL 2180225, at *5; Wells Fargo Bank v. Cyrus, 1:10-cv-2064, 2010 WL

3294320, at *4 (N.D. Ga. July 15, 2010), adopted, 2010 WL 3294314 (N.D. Ga. Aug. 20,

2010) [hereinafter “Cyrus”].

       In Cyrus, for instance, the bank filed two separate civil actions in Georgia State

court: an action for foreclosure on the title to defendant’s real property to recover the

value defendant owed (the “foreclosure case”), and a separate summary dispossessory

proceeding to physically remove defendant from the property so that the bank could take

possession (the “ejectment case”). Id. Defendant removed the ejectment case to federal

district court under 28 U.S.C. § 1332, asserting that the value of the property exceeded

$75,000. Id. The U.S. District Court for the Northern District of Georgia found that

defendant did not satisfy the amount-in-controversy requirement, explaining that the

ejectment case was a special type of proceeding under a Georgia statute, where—unlike

the foreclosure case—“title to the property [wa]s not at issue . . . but rather only a dispute

over the limited right to possession[.]” Id. Because defendant’s possession of the property,

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and not the ownership of the property itself, was at issue in the ejectment action, the

Cyrus court ruled that “the removing defendant may not rely on the value of the property

as a whole to satisfy the amount in controversy requirement.” Id.

       Cyrus is instructive in the action sub judice. The ejectment case in Cyrus merely

sought to physically restrain defendant from the property, just as the Magistrate Court

matters here sought to physically restrain Respondents from coming into contact with

Petitioner pursuant to a special type of proceeding created by West Virginia statute. The

ejectment case in Cyrus did involve the property, but the parties’ relative ownership was

only at issue in the separate foreclosure case; likewise, the Magistrate Court matters here

involve Respondents’ alleged attempt to steal Petitioner’s property, but the parties’

relationship to the property is only at issue in the separate Financial Exploitation case.

Just as in Cyrus, therefore, the Respondents here may not rely on the value of the property

to satisfy the amount in controversy requirement. Offering nothing further, the

undersigned FINDS that Respondents have failed to substantiate their valuation of the

Magistrate Court matters sub judice. Consequently, this Court lacks subject-matter

jurisdiction over this action pursuant to 28 U.S.C. § 1332, and remand is proper.

          b. Timeliness

       Independent from the issue of original jurisdiction, Petitioner also challenged

Respondents’ removal to this Court based upon the procedural defect of untimeliness.

The removal statute provides in relevant part that “[t]he notice of removal of a civil action

or proceeding shall be filed within 30 days after the receipt by the defendant, through

service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon

which such action or proceeding is based[.]” 28 U.S.C. § 1446(b)(1) (emphasis added).



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       Here, the Petitions for TPSO were filed in the Magistrate Court matters on

September 22, 2022. That same day, the Kanawha Magistrate Court Clerk served

Respondents via certified mail at their last known addresses. While Respondents claim

that they did not receive the certified mail from the Kanawha Magistrate Court Clerk and

therefore were not served, the record shows that Respondents did receive the TPSO

Petitions “otherwise” in accordance with § 1446(b)(1). Respondent Heine contacted

Petitioner’s counsel, Attorney Taylor, on October 3, 2022, requesting copies of all

pleadings. (ECF Nos. 5 at 11; 5-4 at 7.) It is undisputed that, on October 7, 2022, Attorney

Taylor responded to Heine’s request and “provided the [Respondents] with copies of all

pleadings and exhibits.” (ECF No. 5 at 11.) As Respondents thus received a copy of the

TPSO Petitions in the Magistrate Court matters no later than October 7, 2022, their

deadline to file a Notice of Removal pursuant to § 1446 was November 7, 2022. However,

Respondent Heine did not file her Notice of Removal until November 28, 2022, and the

Keane Notice was not filed until January 17, 2023. (ECF Nos. 1; 8.) Consequently, the

undersigned FINDS that Respondents’ removal petition was untimely under 28 U.S.C. §

1446(b)(1), and remand is proper.

          c. Attorneys’ Fees

       An order remanding the case may require payment of just costs and any actual

expenses, including attorney fees, incurred as a result of the removal. 28 U.S.C. § 1447(c).

Absent unusual circumstances, courts may award attorney's fees under § 1447(c) only

where the removing party lacked an objectively reasonable basis for seeking removal;

conversely, when an objectively reasonable basis exists, “fees should be denied.” Martin

v. Franklin Capital Corp., 546 U.S. 132, 141 (2005).



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       First, Respondent Heine lacked an objectively reasonable basis for seeking

removal in all three Magistrate Court matters. At the time of removal, the Kanawha

Magistrate Court had not ruled on the pending motion to consolidate the three matters.

Heine lacked authority to consolidate them herself, via the removal process or otherwise.

Furthermore, as Heine was a named party in only one of these matters, she had no

objectively reasonable basis—particularly as a pro se party who is not a licensed

attorney—to file a notice of removal in the remaining two matters on behalf of

Respondents Knorr and Keane, regardless of their consent to the removal. See Lombard

v. Baker, 2:22-cv-328, 2023 WL 2974933, at *12 (M.D. Ala. Feb. 22, 2023), adopted,

2023 WL 2525509 (M.D. Ala. Mar. 15, 2023) (“Generally, cases, pleadings, and motions

filed by a pro se litigant on behalf of another are a nullity.”).

       Moreover, Respondent Heine’s lacked an objectively reasonable basis for asserting

that there was original jurisdiction over the Magistrate Court matters in this Court based

upon diversity of citizenship. Residence and domicile are not synonymous—and the

record could support a finding that Heine was aware of the distinction. In support of

Heine’s claim that the parties were diverse under § 1332, she carefully worded her

assertion that “Plaintiff’s attorney represents that Plaintiff is a resident of WV.” (ECF No.

1 ¶ 1 (emphasis added).) In proceedings before the Kanawha Magistrate Court, however,

Heine repeatedly asserted that Petitioner’s domicile was New Jersey. (See, e.g., ECF No.

5-4 at 19 (representing, in Heine’s Response to the Petition for TPSO, that Heine,

Respondent Knorr, and Petitioner “are domiciliaries of New Jersey”).) Respondent Heine

asserted to the Kanawha Magistrate Court that “[t]here is a question of what jurisdiction

the State of W[est] V[irginia] can exert over [Petitioner] Marilynn English.” Id. Even after

removal to this Court, Respondents asserted in their Motion to Dismiss that “[t]he

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Plaintiff is from NJ. Two of the defendants are from NJ.” (ECF No. 10 at 5.) The Court

ascribes greater proficiency with legal documents to Heine, as the undersigned is aware

that Heine has assisted litigants before this Court with drafting and submitting pleadings

and other Court filings. Taken together, the undersigned FINDS that Respondent Heine

lacked an objectively reasonable basis for asserting that there was original jurisdiction

based upon diversity of citizenship under 28 U.S.C. § 1332.

      Furthermore, the effect of Respondents’ removal cannot be ignored. In a similar

case where an order of protection against harassment from respondent was sought in

state court on behalf of an incapacitated patient, the federal district court noted that

removal to federal court in the midst of such time-sensitive, urgent summary proceedings

frustrates a state’s efforts to protect the people within its borders. Mihaylo, 2019 WL

11274831, at *3. The Mihaylo court went on to explain its concern that the respondent

sought to “use this court to make an end run around the state courts” and thereby

“interfer[e] in [the petitioner’s] ongoing attempts to stop [the respondent’s] continuing

harassment.” Id. Viewing the matter sub judice against the backdrop of the serious

allegations of fraud and other misconduct, the undersigned is concerned that

Respondents, led by Heine, acted in bad faith in invoking this Court’s jurisdiction,

knowing that they lacked an objectively reasonable basis to do so.

      As pro se litigants, Respondents’ pleadings must be “accorded liberal

construction.” Erickson v. Pardus, 551 U.S. 89 (2007) (per curiam). Nevertheless, a

party’s pro se status “does not provide a license to abuse the judicial system.” Toutges,

2019 WL 5865642, at *9. By removing the Magistrate Court matters without an

objectively reasonable basis to do so, and by making misleading representations to this

Court, the undersigned FINDS that Respondents have indeed abused the legal system.

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Accordingly, the undersigned RECOMMENDS an award to Petitioner—reflecting the

“just costs and any actual expenses, including attorney fees, incurred as a result of the

removal” under 28 U.S.C. § 1447(c)—to the extent deemed appropriate by the presiding

District Judge. See Circle Indus. USA, Inc. v. Parke Constr. Grp., Inc., 183 F.3d 105, 109

(2d Cir. 1999) (awarding attorney’s fees when the pro se defendant lacked a reasonable

basis for removal, removed for an improper purpose, and subjected the plaintiff to

unnecessary expense and harassment); Ins. Co. of State of Pa. v. Waterfield, 371 F. Supp.

2d 146, 151 (D. Conn. 2005) (granting fee request under § 1447(c) against pro se

defendant who engaged in a “pattern” of “dilatory tactics”).

   IV.    RECOMMENDATION

      For the foregoing reasons, the undersigned respectfully RECOMMENDS that

Plaintiff’s Motion to Remand (ECF No. 4) be GRANTED, and that this matter be

REMANDED to the Magistrate Court of Kanawha County, West Virginia. The

undersigned further respectfully RECOMMENDS that Petitioner’s request for an award

of costs and expenses pursuant to 28 U.S.C. § 1447(c) be GRANTED, to the extent

deemed appropriate by the presiding District Judge.

      The parties are notified that this Proposed Findings and Recommendation is

hereby FILED, and a copy will be submitted to the Honorable Thomas E. Johnston, Chief

United States District Judge. Pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(b) of the

Federal Rules of Civil Procedure, the parties shall have fourteen (14) days from the date

of the filing of this Proposed Findings and Recommendation to file with the Clerk of this

Court specific written objections identifying the portions of the Proposed Findings and

Recommendation to which objection is made and the basis of such objection. Extension

of this time period may be granted by the presiding District Judge for good cause shown.

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Copies of any objections shall be provided to the opposing party or, if it is represented by

counsel, to its counsel, and to Judge Johnston.

       Failure to file written objections as set forth above shall constitute a waiver of de

novo review by the District Court and a waiver of appellate review by the Fourth Circuit

Court of Appeals. 28 U.S.C. § 636(b)(1); see Thomas v. Arn, 474 U.S. 140, 155 (1985);

Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); Wright v. Collins, 766 F.2d 841,

846 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984).

       The Clerk is DIRECTED to file this Proposed Findings and Recommendation,

transmit a copy to counsel of record via the Court’s CM/ECF system, and mail a copy of

the same to the pro se Respondents at their addresses of record.

                                          ENTER:        June 20, 2023




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